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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                              CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

               Debtor                                         CHAPTER 11



            MOTION TO INFORM DEBTOR’S ATTORNEY WILL BE OUT OF
                 OFFICE FROM JUNE 29, 2019 TO JULY 13, 2019


        TO THE HONORABLE COURT:

               COMES NOW Alexis Fuentes Hernández, counsel for Debtor, and very

        respectfully states and prays:

               1.     The undersigned counsel will be out of the office from June 29,

        2019 to July 13, 2019.

               2.     It is respectfully requested that no hearing or matters be scheduled

        during that time.

               WHEREFORE, it is respectfully requested that this Court takes notice of

        the above.

               CERTIFICATE OF SERVICE: I hereby certify that on this same date, I
        electronically filed the foregoing with the Clerk of the Court using the CM/ECF
        systems, which will send notification of such filing to the Office of the United
        States Trustee, and all participants of CM/EMF.

               San Juan, Puerto Rico, this 28th day of May, 2019.
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        Motion to Inform                                            Page !2
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                                              s/ Alexis Fuentes-Hernández, Esq.
                                              Alexis Fuentes-Hernández, Esq.
                                              USDC-PR 217201

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